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                                                                             2018 Nov-08 PM 02:49
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           WESTERN DIVISION

   ABIGAIL WEISSENBACH,                   )
           Plaintiff,                     )
                                          )
   vs.                                    )
                                                       7:17-cv-001642-LSC
   TUSCALOOSA COUNTY                      )
   SCHOOL SYSTEM, et al.,                 )
                                          )
   Defendants.                            )
                                          )
                                          )

                                Memorandum of Opinion

         Plaintiff Abigail Weissenbach (“Weissenbach”) brings this action

against Defendants Tuscaloosa County School System (“Tuscaloosa

County”), Joe Bradley Petrey, Jr. (“Petrey”), Schmitt Moore (“Moore”), James

Barnett (“Barnett”), Gary Mims (“Mims”), Don Presley (“Presley”), Charles

Orr (“Orr”), Randy Smalley (“Smalley”), Bill Copeland (“Copeland”), Laura

McBride (“McBride”), Marcy Burroughs (“Burroughs”), Thad Fitzpatrick

(“Fitzpatrick”),        and   Elizabeth   Swinford   (“Swinford”)   (collectively

“Defendants”), alleging claims under Alabama state law, 20 U.S.C. § 1681,

et seq. (“Title IX”), and 42 U.S.C. § 1983. All claims relate to an alleged

sexual relationship between Weissenbach and her high school teacher


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Petrey. Before the Court are motions to dismiss filed by Tuscaloosa County

and Moore, Barnett, Mims, Presley, Orr, Smalley, and Copeland (collectively

“Board Members”) (doc. 29) and Burroughs and Fitzpatrick (doc. 30). 1 The

motions have been fully briefed by the parties and are ripe for review. For

the reasons described more fully herein, Defendants Tuscaloosa County and

the Board Members’ motion to dismiss (doc. 29) and Defendants Burroughs

and Fitzpatrick’s motion to dismiss (doc. 30) are due to be granted.

    I.     BACKGROUND 2

         Weissenbach is a former high school student of Brookwood High

School in Tuscaloosa County, Alabama. Weissenbach was born in 1996,

and from the 2013 to 2015 school years she had a sexual relationship with

Petrey, who was her high school history and psychology teacher.

         During high school, Weissenbach took dance classes at McCalla

Dance Academy. At those classes, Weissenbach talked about Petrey as if

he were her boyfriend. When her dance teachers learned that Petrey was



1Both sets of defendants have adopted and incorporated by reference the grounds for
dismissal set forth in the other defendants’ motion. (See Doc. 29 at 13 & Doc. 30 at 5.)
2 In evaluating a motion to dismiss, this Court “accept[s] the allegations in the complaint
as true and construe[s] the facts in the light most favorable to the plaintiff.” Johnson v.
Midland Funding, LLC, 823 F.3d 1334, 1337 (11th Cir. 2016). The following facts, are
therefore, taken from the allegations contained in Weissenbach’s Amended Complaint,
and the Court makes no ruling on their veracity.

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actually Weissenbach’s teacher, they reported their concerns to Brookwood

High School administrators. During a conference call between the dance

teachers, Principal McBride, Vice Principal Burroughs, and Vice Principal

Fitzpatrick, the administrators implied that they were upset about

Weissenbach and Petrey’s relationship and that they would make sure that

it did not continue.

      Following this conversation, Burroughs told Weissenbach’s dance

teachers that the administrators had informed the Tuscaloosa County School

Board about their complaints and that the situation was being investigated.

However, during the next school year, the dance teachers learned from other

students that Weissenbach and Petrey were continuing to eat breakfast and

lunch together at school. In July 2015, illicit photos of Weissenbach and

Petrey were posted to the school Facebook page and Twitter, and a link to

a   cloud-based    photo-sharing   account    with   other   photographs   of

Weissenbach and Petrey were also made widely available.

      According to Weissenbach’s Amended Complaint, the remaining

defendants not discussed in the preceding facts are members of the

Tuscaloosa County School Board. Specifically, Weissenbach alleges that

Defendants Moore, Barnett, Mims, Presley, Orr, Smalley, and Copeland

were Tuscaloosa County School Board members during Weissenbach and

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Petrey’s relationship. Swinford was the Superintendent of the Tuscaloosa

County School System.

   II.     STANDARD OF REVIEW

         A. Subject Matter Jurisdiction

         The Court must “inquire into whether it has subject matter jurisdiction

at the earliest possible stage in the proceedings.” Univ. of S. Ala. v. Am.

Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999). “[B]ecause the

constitutional standing doctrine stems directly from Article III’s ‘case or

controversy’ requirement, this issue implicates . . . subject matter jurisdiction,

and accordingly must be addressed as a threshold matter regardless of

whether it is raised by the parties.” Duty Free Americas, Inc. v. Estee Lauder

Companies, Inc., 797 F.3d 1248, 1271 (11th Cir. 2015) (quoting Nat’l Parks

Conservation Ass’n v. Norton, 324 F.3d 1229, 1242 (11th Cir. 2003)). “Article

III standing must be determined as of the time at which the plaintiff’s

complaint is filed,” and “the standing inquiry requires careful judicial

examination of a complaint’s allegations to ascertain whether the particular

plaintiff is entitled to an adjudication of the particular claims asserted.”

Hollywood Mobile Estates Ltd. v. Seminole Tribe of Fla., 641 F.3d 1259,

1265 (11th Cir. 2011) (quoting Focus on the Family v. Pinellas Suncoast

Transit Auth., 344 F.3d 1263, 1275 (11th Cir. 2003) and Allen v. Wright, 468

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U.S. 737, 752 (1984)). “[I]t is well settled that a federal court is obligated to

inquire into subject matter jurisdiction sua sponte whenever it may be

lacking.” Univ. of S. Ala., 168 F.3d at 410. “The party invoking federal

jurisdiction bears the burden of proving the essential elements of standing,

although ‘[a]t the pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice[.]’” DiMaio v. Democratic

Nat’l Comm., 520 F.3d 1299, 1301 (11th Cir. 2008) (quoting Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992)).

      B. Rule 12(b)(6)

      In general, a pleading must include “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

However, in order to withstand a motion to dismiss pursuant to Fed. R. Civ.

P. 12(b)(6), a complaint “must plead enough facts to state a claim to relief

that is plausible on its face.” Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1347–

48 (11th Cir. 2016) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)) (internal quotation marks omitted). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Stated another way, the factual

allegations in the complaint must be sufficient to “raise a right to relief above

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the speculative level.” Edwards v. Prime, Inc., 602 F.3d 1276, 1301 (11th Cir.

2010). A complaint that “succeeds in identifying facts that are suggestive

enough to render [the necessary elements of a claim] plausible” will survive

a motion to dismiss. Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1296 (11th Cir.

2007) (quoting Twombly, 550 U.S. at 556) (internal quotation marks omitted).

          In evaluating the sufficiency of a complaint, this Court first “identif[ies]

pleadings that, because they are no more than conclusions, are not entitled

to the assumption of truth.” Iqbal, 556 U.S. at 679. This Court then

“assume[s] the[] veracity” of the complaint’s “well-pleaded factual

allegations” and “determine[s] whether they plausibly give rise to an

entitlement to relief.” Id. Review of the complaint is “a context-specific task

that requires [this Court] to draw on its judicial experience and common

sense.” Id. If the pleading “contain[s] enough information regarding the

material elements of a cause of action to support recovery under some

‘viable legal theory,’” it satisfies the notice pleading standard. Am. Fed’n of

Labor & Cong. of Indus. Orgs. v. City of Miami, 637 F.3d 1178, 1186 (11th

Cir. 2011) (quoting Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678,

683–84 (11th Cir. 2001)).

   III.      DISCUSSION

          A. Standing as to Request for Injunctive Relief

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      Although not addressed by the parties, the Court must first determine,

as a threshold matter, whether Weissenbach has standing to assert her

claims against the Defendants. See Nat’l Park Conservation Ass’n, 324 F.3d

at 1242. The Court determines standing according to differing strands of

analysis: the constitutional requirements under Article III and prudential

limitations on the exercise of otherwise constitutionally allowed claims. Elend

v. Basham, 471 F.3d 1199, 1205–06 (11th Cir. 2006). To establish standing

under Article III, a plaintiff must show (1) “an injury in fact,” (2) “a causal

connection between the injury and the conduct complained of,” and (3) that

“it [is] likely, as opposed to merely speculative that the injury will be

redressed by a favorable decision.” Lujan, 504 U.S. at 560–61 (internal

quotation marks and citations omitted). The injury in fact must be “concrete

and particularized” and “actual or imminent, not conjectural or hypothetical.”

Id. at 560. (internal quotation marks and citations omitted). Also, the causal

connection must be “fairly traceable to the challenged action of the

defendant, and not the result of the independent action of some third party

not before the court.” Id. (internal quotation marks, citations, and alterations

omitted); see also Church v. City of Huntsville, 30 F.3d 1332, 1337 (11th Cir.

1994) (“Because injunctions regulate future conduct, a party has standing to

seek injunctive relief only if the party alleges, and ultimately proves, a real

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and immediate—as opposed to a merely conjectural or hypothetical—threat

of future injury.”). Under prudential requirements, “a plaintiff cannot raise the

claims of third parties; cannot claim standing based on a generalized

grievance; and must raise a claim within the zone of interest covered by a

statutory conferral of standing.” Elend, 471 F.3d at 1206 (citing Cone Corp.

v. Fla. Dep’t of Transp., 921 F.2d 1190, 1203–10 (11th Cir. 1991)).

      In her Amended Complaint, Weissenbach not only asks for monetary

damages but also for declaratory and injunctive relief. Specifically,

Weissenbach asks the Court to enjoin the Defendants from continuing to

violate her rights under Title IX, the Equal Protection Clause of the

Fourteenth Amendment, and Alabama state law. (See Doc. 28 at 19.)

Weissenbach also asks the Court to “[i]ssue an injunction ordering these

Defendants: (1) not to engage in gender discrimination and sexual

harassment; (2) . . . to establish written policies and procedures against such

discriminatory conduct; (3) and to establish a grievance procedure for

reporting such conduct[.]” (Id.)

      Assuming “as true all material allegations contained in the complaint

and constru[ing] the complaint in a light most favorable to the complaining

party,” Elend, 471 F.3d at 1208, Weissenbach has not fulfilled her burden to

show that she has standing to pursue injunctive relief against Defendants.

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As Weissenbach is a former student of Brookwood High School, she has

presented no facts to indicate that an injunction against Tuscaloosa County,

its board members, or its administrators would prevent future harm or

remedy the past harm that she allegedly suffered. Moreover, she has not

alleged that she faces any possibility of real or imminent future harm resulting

from any of the Defendants’ alleged conduct. See Williams v. Bd. of Regents

of Univ. Sys. of Ga., 477 F.3d 1282, 1303 (11th Cir. 2007) (affirming district

court’s dismissal of Title IX claims for injunctive relief when plaintiff no longer

attended college where sexual harassment allegedly occurred). Thus, the

Court cannot conclude that an injunction would prevent Weissenbach from

suffering any future harm. Where, as here, a plaintiff cannot show that she

is likely to suffer future harm from the defendants’ conduct, she “does not

have standing to seek prospective relief even if [s]he has suffered a past

injury.” 31 Foster Children v. Bush, 329 F.3d 1255, 1265 (11th Cir. 2003).

      To the extent that Weissenbach is seeking injunctive relief to prevent

Defendants from harming current Tuscaloosa County students, these claims

fail because they raise the rights of third parties not before the Court. See

Harris v. Evans, 20 F.3d 1118, 1121 (11th Cir. 1994) (noting the general

prohibition against third-party standing). The general prohibition against

litigants asserting the rights of third parties “assumes that the party with the

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right has the appropriate incentive to challenge (or not challenge)

governmental action and to do so with the necessary zeal and appropriate

presentation.” Kowalski v. Tesmer, 543 U.S. 125, 129 (2004). Even so, the

doctrine of “third-party standing” allows a party who has standing in his own

right to assert the rights of another upon “two additional showings.” Id. at

130. The first question is “whether the party asserting the right has a ‘close’

relationship with the person who possesses the right. Second, [it must be]

considered whether there is a ‘hindrance’ to the possessor’s ability to protect

his own interests.” Id. (citations omitted). Here, Weissenbach has made no

showing that she maintains a close relationship with current students within

the Tuscaloosa County School System. 3 Moreover, even if she were able to

make such a showing, there is nothing that suggests that there would be a

hindrance to those students pursuing an action in their own name.

Accordingly, Weissenbach lacks standing to pursue injunctive relief, and her

claims seeking injunctive relief are due to be dismissed.

       B. State-Law Claims



3 Nor would she likely be able to make such a showing. The type of close relationship
required is more than that of being a close friend. The relationship must be related to
the right that is being asserted. See Singleton v. Wulff, 428 U.S. 106, 114–15 (1976).
For example, an attorney may have third-party standing to assert the rights of his clients
to obtain legal representation, U.S. Dep’t. of Labor v. Triplett, 494 U.S. 715, 720 (1990),
or a doctor may have standing to litigate his patients’ right to obtain an abortion.
Singleton, 428 U.S. at 118.
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        Tuscaloosa County, the Board Members, Burroughs, and Fitzpatrick

all move to dismiss Weissenbach’s state-law claims against them. They

argue that Weissenbach’s claims against them for negligence, wantonness,

and intentional infliction of emotional distress are barred by immunity.

Specifically, these defendants raise two types of immunity: State immunity

with respect to the state law claims brought against Tuscaloosa County and

the Board Members and administrators in their official capacities and state-

agent immunity with respect to the state law claims brought against the

Board Members, Burroughs, and Fitzpatrick in their individual capacities.

Burroughs and Fitzpatrick also move to dismiss Weissenbach’s state-law

claims for failure to state a claim. The Court will address each argument in

turn.

          1. State Immunity

        Tuscaloosa County argues that Weissenbach’s state-law claims

against it are due to be dismissed because it is entitled to absolute immunity

with respect to those claims. The Alabama Constitution provides “[t]hat the

State of Alabama shall never be made a defendant in any court of law or

equity.” Ala. Const. art. I, § 14. This immunity extends to state agencies. See

Ex parte Hale Cty. Bd. of Educ., 14 So. 3d 844, 848 (Ala. 2009). Because,

under Alabama law, county boards of education are considered “local

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agencies of the State, they are clothed in constitutional immunity from suit.”

Id. This immunity is absolute and a plaintiff is completely barred from bringing

any state-law action for monetary, injunctive, or declaratory relief against a

county school board. See Bd. of School Comm’rs of Mobile Cty. v. Weaver,

99 So. 3d 1210, 1217 (Ala. 2012).

      As the Amended Complaint describes Defendant Tuscaloosa County

as “the governing body for the Tuscaloosa County School System in

Tuscaloosa County, Alabama” (doc. 28 ¶ 2), the Court concludes that

Defendant Tuscaloosa County is in fact the Tuscaloosa County School

Board. Because county boards of education are entitled to absolute

immunity, Defendant Tuscaloosa County’s motion to dismiss the state law-

claims against it is due to be granted.

      The Board Members, Fitzpatrick, and Burroughs also argue that they

are entitled to absolute immunity with respect to Weissenbach’s state-law

claims against them in their official capacities. The Court agrees. “[A]ctions

for damages against State agents in their official or representative capacities

are considered actions to recover money from the State and are barred by

State immunity under § 14.” Ex parte Moulton, 116 So. 3d 1119, 1140 (Ala.

2013). Thus, a plaintiff may not bring claims for monetary relief against a

county school board member in his or her official capacity in this

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circumstance. See Ex parte Montgomery Cty. Bd. of Educ., 88 So. 3d 837,

842 (Ala. 2012). This rule extends to a school board’s employees. See

Matthews v. Ala. Agric. & Mech. Univ., 787 So. 2d 691, 697 (2000)

(concluding that university employees sued in their official capacities for

monetary damages are entitled to absolute immunity under § 14). However,

§ 14 does not prohibit “actions brought under the Declaratory Judgments Act

. . . seeking construction of a statute and its application in a given situation”

or actions brought to enjoin “[s]tate officials in their representative capacity

where it is alleged that they had acted fraudulently, in bad faith, beyond their

authority, or in a mistaken interpretation of law.” Moulton, 116 So. 3d at 1131,

1141 (internal quotation marks and citations omitted).

      Here, the Court has already held that Weissenbach’s claims for

injunctive relief are due to be dismissed for lack of standing. Moreover,

Weissenbach’s request for a declaratory judgment does not fall within the

declaratory judgment exception to § 14. Weissenbach asks the Court to

“[g]rant [her] a declaratory judgment holding that the actions of the

Defendants . . . violated . . . Alabama state laws.” (Doc. 28 at 19.) It is not a

request for “construction of a statute.” Moulton, 116 So. 3d 1131. Thus, to

the extent that Weissenbach’s state-law claims are brought against the

Board Members in their official capacities, their motion to dismiss is due to

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be granted. Moreover, as Burroughs and Fitzpatrick are employees of the

Tuscaloosa County School Board, their motion to dismiss Weissenbach’s

state-law claims against them in their official capacities is also due to be

granted.

           2. State-Agent Immunity

      The Board Members, Burroughs, and Fitzpatrick also argue that

Weissenbach’s state-law claims against them in their individual capacities

are barred by state-agent immunity. State agents are immune from civil

liability when the conduct complained of involves the formulating of plans,

policies, or designs, when the decisions complained of are administrative in

nature, such as the “hiring, firing, transferring, assigning, or supervising [of]

personnel,” when the agent is discharging duties imposed on an agency by

statute, rule, or regulation, and when the agent is exercising judgment in

enforcing criminal law, releasing prisoners or persons of unsound mind, or

educating students. Ex parte Cranman, 792 So. 2d 392, 405 (Ala. 2000). A

state agent is not immune, however, “when the [s]tate agent acts willfully,

maliciously, fraudulently, in bad faith, beyond his or her authority, or under a

mistaken interpretation of law.” Id. Moreover, a state agent is not immune

“when the Constitution or laws of the United States, or the Constitution of

[Alabama], or laws, rules, or regulations of [Alabama] enacted or

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promulgated for the purpose of regulating the activities of a governmental

agency require otherwise.” Id.

      The Alabama Supreme Court has established a burden-shifting

process governing the assertion of state-agent immunity. First, the state

agent bears the burden of showing that he was engaged in a function that

gives rise to state-agent immunity. Giambrone v. Douglas, 874 So. 2d 1046,

1052 (Ala. 2003). Once he has done so, the burden shifts to the plaintiff to

show that one of the two exceptions to state-agent immunity recognized in

Cranman applies. See Ex parte Kennedy, 992 So. 2d 1276, 1282–83 (Ala.

2008).

      The Board Members and administrators argue that they are entitled to

state-agent immunity because the conduct Weissenbach complains of

relates to their supervision of personnel and exercise of judgment in

educating students. (See Doc. 29 at 7.) According to the Amended

Complaint, the Board Members negligently hired and supervised Petrey and

failed to protect students from Petrey after being notified of his inappropriate

conduct. Moreover, the Amended Complaint alleges that the Board Members

failed to terminate or place Petrey on leave even as Petrey’s relationship with

Weissenbach continued. Weissenbach makes the same allegations against

Burroughs and Fitzpatrick. Weissenbach also alleges that all of these

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defendants had a duty to report any suspected child abuse under Alabama’s

mandatory reporting statute, Ala. Code § 26-14-3.

     Weissenbach does not dispute that these actions relate to the

Defendants’ supervision of Petrey or exercise of judgment in educating

students. (See Doc. 34 at 16.) Rather, she argues that through the

allegations in the Amended Complaint she has met her burden to show that

one of the exceptions to state-agent immunity applies.

     The Court agrees that the Board Members and administrators have

met their initial burden under the Cranman framework. All of Weissenbach’s

claims against them arise from their alleged mishandling of the investigation

into Petrey, their failure to remove him from the school setting pending that

investigation, and their failure to properly report Weissenbach’s claims.

These actions relate to the supervision of personnel and exercise of

judgment in educating students, which are two of the immunized functions

specifically described in Cranman. See Cranman, 792 So. 2d at 405.

Moreover, Weissenbach acknowledges in the Amended Complaint that: “All

actions complained of herein by the plaintiff against [each individual

Defendant] occurred within the line and scope of [his or her] employment and

representative capacity with Tuscaloosa County School System in

Tuscaloosa Alabama.” (See Doc. 28 at ¶¶ 5, 6, 7, 8, 9 10, 11, 13, 14.)

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Therefore, unless one of the exceptions to state-agent immunity applies,

Weissenbach’s state-law claims against these defendants are barred.

      Weissenbach does not allege that any federal or state law requires the

Board Members and administrators to be subject to suit in their individual

capacities. Thus, they can only be liable for Weissenbach’s state-law claims

if she has sufficiently alleged that they “acted willfully, maliciously,

fraudulently, in bad faith, or beyond [their] authority.” See Kennedy, 992 So.

2d at 1282. Weissenbach has not done so with regards to her claims for

negligence and wantonness. Rather than allege that the Defendants acted

beyond their authority when they failed to properly investigate her claims,

Weissenbach asserts that their actions were taken within the scope of their

employment. She has also failed to allege that these actions were contrary

to any Tuscaloosa County policy. See Kennedy, 992 So. 2d at 1282–83

(“One of the way in which a plaintiff can show that a State agent acted

beyond his or her authority is by proffering evidence that the State agent

failed to ‘discharge duties pursuant to detailed rules or regulations, such as

those stated on a checklist.’” (quoting Giambrone, 874 So. 2d at 1052)).

      Moreover, the facts alleged do not support a finding that the Board

Members and administrators’ allegedly negligent and wanton actions were

done willfully or in bad faith. With respect to Burroughs and Fitzpatrick, the

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facts alleged show that they did take some steps to address the dance

teachers’ concerns by holding the telephone conference and having a follow

up conversation with the dance teachers. Thus, it does not appear that they

were acting in bad faith. Additionally, the Amended Complaint does not

contain any factual allegations that suggests that the Board Members’ failure

to terminate or suspend Petrey was malicious or done in bad faith. Therefore,

the Board Members and administrators’ motions to dismiss Weissenbach’s

negligence and wantonness claims against them are due to be granted

because they are barred by state-agent immunity. However, the Board

Members and administrators are not entitled to state-agent immunity with

respect to Weissenbach’s claim for intentional infliction of emotional distress

because it is an intentional tort and officials do not receive state-agent

immunity for willful or malicious conduct. See Cranman, 792 So. 2d at 402

n.13.

          3. Failure to State a Claim

             a. Intentional Infliction of Emotional Distress

        Burroughs, Fitzpatrick, and the Board Members also argue that

Weissenbach’s intentional infliction of emotional distress claims against

them are due to be dismissed for failure to state a claim. In Alabama,

intentional infliction of emotional distress is generally referred to as the tort

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of outrage. See Ex Parte Crawford & Co., 693 So. 2d 458, 460 (Ala. 1997).

Therefore, the Court will refer to the tort at issue as the tort of outrage, even

though the Amended Complaint styles this claim as one for intentional

infliction of emotional distress.

      To succeed on an action based on outrage, Weissenbach must prove

(1) the Defendants intended to inflict emotional distress, or knew or should

have known that emotional distress would likely result from their conduct; (2)

the Defendants’ conduct was extreme and outrageous; (3) the Defendants’

actions caused her distress; and (4) the distress was severe. Martin v.

Hodges Chapel, LLC, 89 So. 3d 756, 763 (Ala. Civ. App. 2011). Outrage is

a limited tort, and the Alabama Supreme Court has traditionally recognized

it in only three situations: “(1) wrongful conduct in the family-burial context;

(2) barbaric methods employed to coerce an insurance settlement; and (3)

egregious sexual harassment.” Little v. Robinson, 72 So. 3d 1168, 1172 (Ala.

2011) (internal citations omitted).

      The Board Members and administrators argue that because they are

not accused of directly causing harm to Weissenbach they could not

plausibly have inflicted the emotional distress she allegedly suffered. The

Court agrees that the purported misconduct alleged against the Board

Members, Burroughs, and Fitzpatrick does not meet the high standard

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required to state a claim for intentional infliction of emotional distress. While

Weissenbach has plausibly alleged that Petrey engaged in egregious sexual

harassment, she has made no such allegations against the Board Members

and administrators. Her allegations that they failed to properly investigate

Petrey after the dance teachers’ complaint does not rise to the level of

outrage required under Alabama law. Although perhaps the school officials

could have launched a more thorough investigation into the dance teachers’

claims, the facts alleged do suggest that they did take some steps to

investigate Petrey. Therefore, Weissenbach has not sufficiently alleged that

the Board Members, Burroughs, and Fitzpatrick acted in such an “extreme

and outrageous” manner as to support her intentional infliction of emotional

distress claims against them. As such, Weissenbach’s claims for intentional

infliction   of   emotional   distress   against   the Board Members        and

administrators in their individual capacities are due to be dismissed.

              b. Negligence and Wantonness Claims

       As an alternative to their state-agent immunity argument, Burroughs

and Fitzpatrick also argue that Weissenbach’s negligence and wantonness

claims against them fail as a matter of law. Specifically, they argue that they

cannot be held liable for the negligent and wanton hiring or supervision of




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Petrey and that there is no private right of action for failure to report under

Ala. Code § 26-14-3. The Court will address each argument in turn.

      As part of her negligence and wantonness claims, Weissenbach

alleges that Tuscaloosa County, its Board Members, and administrators both

negligently hired Petrey and “negligently and wantonly acted to protect [him]

by not terminating him or at least placing him on a leave of absence.” (Doc.

28 at ¶¶ 29, 30.) Burroughs and Fitzpatrick argue that as a matter of law they

cannot be held liable for these alleged acts. The Court agrees. Ala. Code §

16-8-23 provides that the county board of education, upon the

recommendation of the superintendent, has the sole power to hire public

school teachers. See Ala. Code § 16-8-23. It further provides that the county

board is the entity with the power to suspend or dismiss teachers accused of

misconduct. Id. It is axiomatic that a defendant cannot be held liable for the

negligent hiring of an individual that he did not possess the power to hire.

Moreover, as Burroughs and Fitzpatrick did not have the authority to fire or

suspend Petrey, they cannot be held liable for failing to do so. Accordingly,

to the extent that Weissenbach is seeking to bring claims against Burroughs

and Fitzpatrick for negligently hiring Petrey or for negligently and wantonly

failing to fire or suspend him, she cannot do so. Therefore, even if Burroughs

and Fitzpatrick are not entitled to state-agent immunity, Weissenbach has

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failed to state a claim against them as to any negligence or wantonness

surrounding Petrey’s hiring or the failure to suspend or fire him.

      Burroughs and Fitzpatrick also argue that they cannot be liable for any

claims of negligent supervision that Weissenbach may have brought against

them because Alabama law does not recognize claims brought against a

supervisory employee for the negligent supervision of a subordinate. The

Court agrees with the reasoning of several other federal district courts that

have held that Alabama law does not recognize such a cause of action. See,

e.g., Hand v. Univ. of Ala. Bd. of Trs., 304 F. Supp. 3d 1173, 1182 (N.D. Ala.

2018) (granting motion to dismiss negligence claims against supervisors

premised on negligent training and supervision of their subordinates); Doe v.

City of Demopolis, 799 F. Supp. 2d 1300, 1312 (S.D. Ala. 2011); Ott v. City

of Mobile, 169 F. Supp. 2d 1301, 1314–15 (S.D. Ala. 2001) (granting

summary judgment on negligent supervision claim because “Alabama

recognizes no cause of action against a supervisor for negligent failure to

supervise or train a subordinate”). The cause of action for negligent

supervision is premised upon the fact that the master in a master-servant

relationship may be “held responsible for his servant’s incompetency.” See

Lane v. Central Bank of Ala., N.A., 425 So. 1098, 1100 (Ala. 1983). High

school administrators, such as Vice Principals Burroughs and Fitzpatrick, are

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not in a master-servant relationship with the teachers at their school. Instead,

they are also employees of the Board of the Education. Accordingly, to the

extent that any of the negligence and wantonness claims against Burroughs

and Fitzpatrick are not based directly on their own negligence, but instead,

are based on claims of negligent supervision, those claims fail to state a

claim.

       Finally, Burroughs and Fitzpatrick argue that they cannot be found

liable for negligently or wantonly failing to report Petrey under Ala. Code

§ 26-14-3, which requires educators to report suspected child abuse. Within

Weisenbach’s claims for negligence and wantonness, she alleges that the

Defendants negligently and wantonly failed to report Petrey’s suspected

child abuse as required under the mandatory reporting statute. The Alabama

Supreme Court has held that the mandatory reporting statute does not create

a private right of action and that a plaintiff may not bring negligence or

wantonness claims based on violations of this statute. See C.B. v. Bobo, 659

So. 2d 98, 101–02 (Ala. 1995). Thus, to the extent that Weissenbach brings

negligence and wantonness claims against Burroughs, Fitzpatrick, and the

Board Members under Ala. Code § 26-14-3, those claims fail as a matter of

law.




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       C. Title IX Claims4

       Count III of the Amended Complaint asserts Title IX claims against

Tuscaloosa County, the Board Members and administrators in their

individual capacities, and the Board Members and administrators in their

official capacities. Title IX states that “[n]o person . . . shall, on the basis of

sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving

Federal financial assistance.” 20 U.S.C. § 1681(a). “Although Title IX does

not expressly permit private enforcement suits, the Supreme Court has found

an implied private right of action for individuals to enforce the mandates of

Title IX” and “that private individuals can obtain monetary damages” under

Title IX. Williams, 477 F.3d at 1293. The Board Members, Burroughs, and

Fitzpatrick move to dismiss the Title IX claims brought against them in their

individual capacities. Weissenbach concedes that there is no individual

liability under Title IX. See Hartley v. Parnell, 193 F.3d 1263, 1270 (11th Cir.

1999) (“Individual school officials . . . may not be held liable under Title IX.”).

As such, the Title IX claims brought against all of the Defendants in their

individual capacities are due to be dismissed.


4Tuscaloosa County only moves the Court to dismiss Weissenbach’s Title IX claims
against it on the grounds of judicial estoppel. This ground for dismissal will be discussed
below.
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      The Board Members, Burroughs, and Fitzpatrick also move to dismiss

the Title IX claims brought against them in their official capacities. They

argue that these claims are duplicative of the Title IX claims brought against

Tuscaloosa County. “[W]hen an [official] is sued . . . in his or her official

capacity, the suit is simply ‘another way of pleading an action against an

entity of which an [official] is an agent.’” See Busby v. City of Orlando, 931

F.2d 764, 776 (11th Cir. 1991) (quoting Kentucky v. Graham, 473 U.S. 159,

165 (1985)). Therefore, suits against an individual defendant in his official

capacity and against his governmental employer are redundant. See id. (“To

keep both the City and the officers sued in their official capacity as

defendants in this case would have been redundant and possibly confusing

to the jury.”). As a result, courts throughout this Circuit have routinely

dismissed official capacity claims against individual defendants when the

entity that individual represents has also been named a defendant for the

same alleged violation. See M.R. v. Bd. of Sch. Comm’rs of Mobile Cty., Civil

Action No. 11-0245-WS-C, 2012 WL 2931263 at *2 n.5 (S.D. Ala. July 18,

2012) (collecting cases). Although most of these cases involve identical

§ 1983 claims being asserted against individual defendants and their

employers, the same logic extends to official capacity claims brought under

Title IX. This is especially true due to the fact that Title IX claims may only

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be asserted against Title IX recipient school districts and not individual

defendants. See Floyd v. Waiters, 133 F.3d 786, 789 (11th Cir. 1998),

vacated by 525 U.S. 802 (1998), reinstated by 171 F.3d 1264 (11th Cir.

1999) (finding that grant recipients are the only ones who can be held liable

under Title IX). Therefore, Weissenbach’s Title IX claims against the Board

Members and administrators in their official capacities are redundant and

their motion to dismiss those claims is due to be granted.

      D. Section 1983 Claims

      Count IV of the Amended Complaint brings claims against Tuscaloosa

County, the Board Members, Burroughs, and Fitzpatrick, pursuant to 42

U.S.C. § 1983, for violations of the Equal Protection Clause. Each of these

defendants has moved to dismiss Weissenbach’s equal protection claims.

          1. Claims Against Tuscaloosa County

      Tuscaloosa County moves the Court to dismiss Weissenbach’s Equal

Protection Clause claims against it. 5 “Section 1983 provides a remedy

against ‘any person’ who, under color of state law, deprives another of rights


5 Additionally, the Board Members, Burroughs, and Fitzpatrick move the Court to
dismiss the § 1983 claims brought against them in their official capacities. As with
Weissenbach’s Title IX claims against the individual Defendants in their official
capacities, these claims are redundant. See Brown v. Neumann, 188 F.3d 1289, 1290
n.1 (11th Cir. 1999) (“[A] suit against a government officer in his official capacity is
simply a suit against the relevant governmental entity.”). Therefore, the Board Members
and administrators’ motions to dismiss the § 1983 claims brought against them in their
official capacities are due to be granted.
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protected by the Constitution.” Collins v. City of Harker Heights, Tex., 503

U.S. 115, 120 (1992). Municipalities and local government entities are

“persons” to whom § 1983 applies. Id. (citing Monell v. Dep’t of Social Servs.

of N.Y., 436 U.S. 658, 690 (1978)).

      However, local government entities “may not be sued under § 1983 for

an injury inflicted solely by its employees or agents. Instead, it is when

execution of a government’s policy or custom, whether made by its

lawmakers or by those whose edicts or acts may fairly be said to represent

official policy, inflicts the injury that the government as an entity is

responsible under § 1983.” Id. at 121 (quoting Monell, 436 U.S. at 691, 694).

“A policy is a decision that is officially adopted by the [entity], or created by

an official of such rank that he or she could be said to be acting on behalf of

the [entity]. . . . A custom is a practice that is so settled and permanent that

it takes on the force of law.” Cooper v. Dillon, 403 F.3d 1208, 1221 (11th Cir.

2005) (quoting Sewell v. Town of Lake Hamilton, 117 F.3d 488, 489 (11th

Cir. 1997)). “Even in the absence of an express policy or custom, a local

government body can be held liable ‘for a single act or decision of a municipal

official with final policymaking authority in the area of the act or decision.’”

Cuesta v. Sch. Bd. of Miami-Dade Cty., Fla., 285 F.3d 962, 968 (11th Cir.

2002) (quoting McMillian v. Johnson, 88 F.3d 1573, 1577 (11th Cir. 1996)).

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“Whether a particular official has final policymaking authority is a question of

state law.” McMillan v. Monroe Cty., 520 U.S. 781, 786 (1997). Stated

another way in order “to impose § 1983 liability on [an entity], a plaintiff must

show that: (1) [her] constitutional rights were violated; (2) the municipality

had a custom or policy that constituted deliberate indifference to that

constitutional right; and (3) that the policy or custom caused the violation.”

McDowell v. Brown, 392 F.3d 1283, 1289 (11th Cir. 2004) (citing City of

Canton v. Harris, 489 U.S. 378, 388 (1989)).

      Here, Tuscaloosa County argues that because the Amended

Complaint does not allege the existence of an official policy or custom that

led to Weissenbach’s injuries her § 1983 claims against it should be

dismissed. The Court agrees that the Amended Complaint is devoid of any

allegations that Tuscaloosa County had any express policies or customs in

place that led to Petrey’s sexual relationship with Weissenbach. Instead,

Weissenbach merely alleges that the Defendants “created an atmosphere

that subjected [her] to sexual abuse and harassment” and “cultivated a

culture of fraternization.” (See Doc. 28 ¶¶ 43, 45.)

      However, the Amended Complaint does allege that Tuscaloosa

County, its officials, and administrators failed to thoroughly investigate the

dance teachers’ complaint, made the decision to continue to employ Petrey,

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and did not attempt to separate Petrey from Weissenbach pending an

investigation into these allegations. (See Doc. 28 at ¶ 44.) Under Alabama

law, the Board is the entity with the ultimate authority to suspend or dismiss

teachers engaged in misconduct. See Ala. Code § 16-8-23. Thus, it is

plausible that the Board’s decision to not suspend Petrey pending its

investigation constituted an act by those with final policymaking authority.

      Nevertheless, “it is not enough for a § 1983 plaintiff merely to identify

conduct properly attributable to the municipality.” Bd. of Cty. Comm’rs of

Brayn Cty., Okl. v. Brown, 520 U.S. 397, 404 (1997). Weissenbach must also

allege that Tuscaloosa County acted with deliberate indifference to her equal

protection rights, which “is a stringent standard of fault, requiring proof that

a municipal actor disregarded a known or obvious consequence of his

action.” Id. at 410. A court must “carefully test the link between the

policymaker’s inadequate decision and the particular injury alleged.” Id.

Thus, for Tuscaloosa County to be liable to Weissenbach under § 1983, the

deprivation of her equal protection rights must have been “a plainly obvious

consequence” of the decision to continue to employ Petrey. See id. at 411.

Because Weissenbach alleges that the dance teachers’ complaint had been

passed on to the Board, it could be inferred that the Board made this decision

even though it was aware of the dance teachers’ allegations.

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      However, Weissenbach has not sufficiently alleged facts from which

the Court can infer that the Board’s response was deliberately indifferent.

Taking the allegations in the Amended Complaint as true, the substance of

the dance teachers’ complaint was that Weissenbach talked about Petrey

during dance class as if he was her boyfriend and that they were concerned

that Petrey’s relationship with Weissenbach was inappropriate. (Doc. 28 ¶

23.) Importantly, Weissenbach makes no allegations that the dance teachers

told the administrators that they knew Weissenbach and Petrey’s

relationship was sexual in nature. Without more factual detail, the Court

cannot say that the Board’s decision to allow Petrey to continue teaching

pending its investigation constituted deliberate indifference. Due to the

limited information available to the Board, it was not plainly obvious that its

inaction would cause Weissenbach to be sexually harassed. Thus, although

Weissenbach has alleged that the failure to terminate Petrey or place him on

leave allowed him to continue to sexually abuse her (doc. 28 ¶ 30), she has

not sufficiently alleged that the Board’s actions were done with deliberate

indifference to her equal protection rights. Therefore, Weissenbach’s § 1983

claim against Tuscaloosa County is due to be dismissed.

         2. Individual Capacity Claims




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      Burroughs,    Fitzpatrick,    and the Board Members argue that

Weissenbach’s equal protection claims against them in their individual

capacities should be dismissed under the doctrine of qualified immunity.

Government officials are provided complete protection by qualified immunity

when sued in their individual capacities, as long as “their conduct ‘does not

violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Vineyard v. Wilson, 311 F.3d 1340,

1346 (11th Cir. 2002) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818

(1982)). Qualified immunity allows government officials to carry out the

discretionary duties of their position “without the fear of personal liability or

harassing litigation, protecting from suit ‘all but the plainly incompetent or

one who is knowingly violating federal law.’” Lee v. Ferraro, 284 F.3d 1188,

1194 (11th Cir. 2002) (citations omitted) (quoting Willingham v. Loughnan,

261 F.3d 1178, 1187 (11th Cir. 2001)). The Eleventh Circuit engages in a

two-part analysis to determine whether a government official is entitled to the

defense of qualified immunity. “First the official must prove that the allegedly

unconstitutional conduct occurred while he was acting within the scope of his

discretionary authority. Second, if the official meets that burden the plaintiff

must prove that the official’s conduct violated clearly established law.”




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Harbert Int’l, Inc. v. James, 157 F.3d 1271, 1281 (11th Cir. 1998) (citations

omitted).

      When determining if an official’s actions were within the scope of his

discretionary authority, courts consider “whether they are of a type that fell

within the employee’s job responsibilities.” Holloman ex rel. Holloman v.

Harland, 370 F.3d 1252, 1265 (11th Cir. 2004). An official will be found to

have been acting within the scope of his discretionary authority if he was “(a)

performing a legitimate job-related function (that is, pursuing a job related

goal), (b) through means that were within his power to utilize.” Id. Here, it is

clear that the Board Members, Burroughs, and Fitzpatrick were acting within

the scope of their discretionary authority because it is only by virtue of their

positions as school board members and administrators that they were tasked

with investigating Petrey’s relationship with Weissenbach. 6

      As the Board Members and administrators have established that they

were acting within the scope of their discretionary authority, “the burden

shifts to the plaintiff to show that the defendant[s are] not entitled to qualified

immunity.” Cottone v. Jenne, 326 F.3d 1352, 1358 (11th Cir. 2003). “To



6Weissenbach does not dispute that the individual Defendants were acting within the
scope of their discretionary authority. (See Doc. 34 at 13–15.) Moreover, the Amended
Complaint acknowledges that all of the alleged actions of the individual Defendants
occurred “within the line and scope of [their] employment.” (See Doc. 28 at ¶¶ 5, 6, 7, 8,
9, 10, 11, 13, 14.)
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overcome qualified immunity, the plaintiff must satisfy a two prong test; [she]

must show that: (1) the defendant violated a constitutional right, and (2) this

right was clearly established at the time of the alleged violation.” Holloman,

370 F.3d at 1264 (citing Wilson v. Layne, 526 U.S. 603, 608 (1999)).

      Weissenbach claims that Defendants have violated her rights under

the Equal Protection Clause of the Fourteenth Amendment. “The Equal

Protection Clause confers a federal constitutional right to be free from sex

discrimination.” See Williams, 477 F.3d at 1300 (11th Cir. 2007). This

protection includes the right to be free from sexual harassment at a public

school. See Hill v. Cundiff, 797 F.3d 948, 978–79 (11th Cir. 2015).

      As an initial matter, the Court notes that Weissenbach claims she is

bringing her equal protection claims against the individual Defendants “for

their direct actions and inactions” rather than under a theory of supervisory

liability. (See Doc. 34 at 13.) In support of this assertion, she cites to the

Eleventh Circuit’s statement in Hill v. Cundiff that “[a] government official . . .

may be held liable under section 1983 upon a showing of deliberate

indifference to known sexual harassment.” 797 F.3d at 978 (11th Cir. 2015)

(quoting Murrell v. Sch. Dist. No. 1, Denver, Colo., 186 F.3d 1238, 1250 (10th

Cir. 1999)). Burroughs, Fitzpatrick, and the Board Members argue that

because no one other than Petrey subjected Weissenbach to sexual

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harassment that the § 1983 claims against them should be subject to the

stringent standards of supervisory liability. (See Doc. 36 at 8–9.)

      The Court agrees with the Defendants that Weissenbach’s equal

protection claims against them are grounded in a theory of supervisory

liability. The Amended Complaint is devoid of any allegations that anyone

other than Petrey personally participated in Weissenbach’s sexual

harassment. Moreover, the Court reads Hill as a supervisory liability case.

Borrowing largely from the Tenth Circuit’s logic in Murrell, the Eleventh

Circuit held in Hill that a principal could be found liable under the Equal

Protection Clause for his deliberately indifferent response to one student’s

sexual harassment of another. See Hill, 797 F.3d at 978–79. In Murrell, the

Tenth Circuit reached its conclusion that a school official’s deliberate

indifference to sexual harassment violated the Equal Protection Clause due

to the fact that principals and teachers exercise supervisory authority over

students. Murrell, 186 F.3d at 1251–52. This, coupled with the fact that

supervisory liability may be shown by establishing that a supervisor has an

“improper custom or policy [that] results in deliberate indifference to

constitutional rights,” Doe v. Sch. Bd. of Broward Cty., Fla., 604 F.3d 1248,

1266 (11th Cir. 2010), leads the Court to conclude that the deliberate

indifference standard discussed in Hill is the same as the supervisory liability

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standard. Accordingly, the Court will assess Weissenbach’s § 1983 claims

against the Board Members and administrators under the supervisory liability

framework.

      For a supervisor to be individually liable for a subordinate’s alleged

violation of this Equal Protection Clause right, the supervisor must have

either “personally participate[d] in the alleged constitutional violation” or there

must be a “causal connection between actions of the supervising official and

the alleged constitutional deprivation.” Id. (quoting Hartley v. Parnell, F.3d

1263, 1268 (11th Cir. 1999)). The required causal connection may be shown

in two circumstances. First, there is a causal connection “when a ‘history of

widespread abuse puts the responsible supervisor on notice of the need to

correct the alleged deprivation, and he fails to do so.’” Id. Second, a causal

connection is established “when a supervisor’s ‘improper custom or policy

results in deliberate indifference to constitutional rights.’” Id. “For a history of

abuse to be sufficiently widespread to put a supervisor on notice, the abuse

must be ‘obvious, flagrant, rampant and of continued duration, rather than

isolated occurrences.’” Id.

      Here, Weissenbach does not assert that any of the Board Members or

administrators personally participated in the alleged sexual harassment.

Thus, she must allege sufficient facts to support a causal connection

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between the actions of the Board Members and administrators and the

alleged Equal Protection Clause violation. The Court will address the

administrators and the board members’ alleged actions separately.

            a. Administrators Burroughs and Fitzpatrick

      Weissenbach argues that the inadequate response by Vice Principals

Burroughs and Fitzpatrick to her dance teachers’ concerns amounted to

deliberate indifference. A plaintiff can prevail on an equal protection claim of

deliberate indifference to sexual harassment if she shows that the individual

defendant “‘actually knew of and acquiesced in’ the discriminatory conduct.”

Hill, 797 F.3d at 978 (11th Cir. 2015) (quoting Murrell 186 F.3d 1238 at 1250).

      Here, Weissenbach has plausibly alleged that Burroughs and

Fitzpatrick had actual knowledge of her sexual relationship with Petrey due

to the complaint made by her dance teachers in early 2014. However, she

has not plausibly alleged that they acquiesced in Petrey’s conduct. A school

official is “not deliberately indifferent simply because the measures [he or

she] takes are ultimately ineffective in stopping a teacher from harassing

[students].” Sauls v. Pierce Cty. Sch. Dist., 399 F.3d 1279, 1285 (11th Cir.

2005) (discussing deliberate indifference in the Title IX context). Instead,

where, as here, an official makes a good faith response to sexual




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harassment allegations he should not be found to have acted in a

deliberately indifferent manner. See id.

      Taking the allegations in the Amended Complaint as true, Burroughs

and Fitzpatrick did make a good faith response to the dance teachers’

complaints. Although Weissenbach alleges that she and Petrey continued to

have frequent contact at school after the administrators were notified of their

potentially inappropriate relationship, the Amended Complaint also states

that Burroughs and Fitzpatrick took steps to investigate the dance teachers’

claims. For example, they held a teleconference with the dance teachers

where they implied that they were very upset with the situation. Burroughs

also responded to the dance teachers’ follow up call and informed them that

their complaint was being investigated. This is a far cry from the situation in

Hill where the principal’s only response to a student’s alleged rape was to

discontinue the school’s one-day sexual harassment workshop for

administrators. Hill, 797 F.3d at 979. While it appears that Burroughs and

Fitzpatrick’s response to the dance teachers’ complaint was ultimately

ineffective, it cannot be said that their actions constituted deliberate

indifference to Weissenbach’s constitutional rights. Therefore, they

committed no constitutional violation and are entitled to qualified immunity.




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               b. Board Members 7

      The Board Members are also entitled to qualified immunity.

Weissenbach has failed to allege that the Board Members, acting in their

individual capacities, either had notice of a history of widespread abuse by

Petrey or that they acted with deliberate indifference to her constitutional

rights.

      An allegation that the Board Members failed to properly investigate a

single complaint against Petrey is insufficient to show that they had notice of

Petrey’s “history of widespread abuse.” See Doe, 604 F.3d at 1267 (finding

that two prior complaints made against a teacher were insufficient to put a

principal on notice of a “history of widespread abuse”). Moreover,

Weissenbach has not alleged that the individual board members had a

custom or policy in place that encouraged Petrey to continue his sexual

relationship with her. Instead, Weissenbach’s allegations of deliberate

indifference are based on the fact that her relationship with Petrey continued



7 The Board Members also argue that Weissenbach has failed to state a § 1983 claim
against them in their individual capacities because the Amended Complaint states that
“[a]ll actions complained of herein by the plaintiff against [each Defendant Board
Member] occurred within the line and scope of his employment and representative
capacity with the Tuscaloosa County School System in Tuscaloosa, Alabama.” (See
Doc. 35 at 7.) However, Weissenbach may bring an individual capacity suit against
Defendants under § 1983 “for acts done in the course of their official duties.” See Hafer
v. Melo, 502 U.S. 21, 28 (1991). Therefore, this argument does not provide a basis for
granting the Board Members’ motion to dismiss.
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even after Burroughs told the dance teachers that the Board was

investigating their claims. These allegations do not meet the “extremely

rigorous” standard required to bring a supervisory liability claim. See Braddy

v. Fla. Dept’t of Labor & Employment Sec., 133 F.3d 797, 802 (11th Cir.

1998). Moreover, there is nothing to indicate that the Board’s failure to

suspend Petrey after receiving an isolated complaint from the dance

teachers constituted acquiescence in his conduct. Thus, the Board Members

are entitled to qualified immunity on Weissenbach’s equal protection claims.

      E. Judicial Estoppel

      Finally, the Court will address the contention that Weissenbach’s

claims are due to be dismissed under the doctrine of judicial estoppel.

“Judicial estoppel is an equitable doctrine invoked at a court’s discretion.”

Burnes v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1285 (11th Cir. 2002) (citing

New Hampshire v. Maine, 532 U.S. 742, 750 (2001)) overruled in part on

other grounds by Slater v. United States Steel Corp., 871 F.3d 1174 (11th

Cir. 2017) (en banc). Application of the judicial estoppel doctrine prevents a

party from “asserting a claim in a legal proceeding that is inconsistent with a

claim taken by that party in a previous proceeding.” Burnes, 291 F.3d at 1285

(quoting 18 James Wm. Moore et al., Moore’s Federal Practice § 134.30, p.

134–62 (3d ed. 2000)). The purpose of the doctrine is “to protect the integrity

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of the judicial process by prohibiting parties from deliberately changing

positions according to the exigencies of the moment.” New Hampshire, 532

U.S. at 749–50. Because judicial estoppel protects the process, not a specific

party, the one asserting the doctrine need not show that it detrimentally relied

on the other party’s previous assertions or even that it was involved in the

previous proceeding. Burnes, 291 F.3d at 1286.

      The Eleventh Circuit primarily analyzes two factors when applying

judicial estoppel to a particular case. See id. at 1285 (noting that the “two

factors applied in the Eleventh Circuit are consistent with the Supreme

Court’s instructions” in New Hampshire); Barger v. City of Cartersville, 348

F.3d 1289, 1293 (11th Cir. 2003) overruled in part on other grounds by

Slater, 871 F.3d 1174. First, a party’s allegedly inconsistent position must

have been “made under oath in a prior proceeding.” Burnes, 291 F.3d at

1285 (quoting Salomon Smith Barney, Inc. v. Harvey, 260 F.3d 1302, 1308

(11th Cir. 2001)). Second, the “inconsistencies must be shown to have been

calculated to make a mockery of the judicial system.” Id. “[T]hese two

enumerated factors are not inflexible or exhaustive; rather, courts must

always give due consideration to all of the circumstances of a particular case

when considering the applicability of this doctrine.” Id. at 1286.




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      Here, Defendants argue that Weissenbach is judicially estopped from

bringing her claims because they are inconsistent with statements she made

in an affidavit filed in the criminal case against Petrey, State of Alabama v.

Petrey, CC-2015-002438.00 (Tuscaloosa County, Ala.). 8 There, due to his

alleged relationship with Weissenbach, the State charged Petrey with

violating Ala. Code § 13-A-6-81(a), which prohibits school employees from

engaging in sex with students. (See Doc. 30-2.) In the affidavit, Weissenbach

stated that she and Petrey did not enter into a sexual relationship until after

she turned eighteen. Moreover, she indicated that her relationship with

Petrey was conducted in private and away from school. Weissenbach also

asserted that she was not a victim of Petrey’s and that she did not intend to

participate in any further court actions related to her relationship with Petrey.

      As the affidavit contains inconsistent statements made under oath in a

prior proceeding, the only remaining question is whether Weissenbach’s




8 Defendants Burroughs and Fitzpatrick have filed the affidavit as an exhibit to their
motion to dismiss. (See Doc. 30-1.) They have also filed as an exhibit the State of
Alabama’s motion to dismiss the criminal charge against Petrey. (See Doc. 30-2.) The
Court “may consider a document attached to a motion to dismiss without converting the
motion into one for summary judgment if the attached document is (1) central to the
plaintiff’s claim and (2) undisputed. In this context, ‘undisputed’ means that the
authenticity of the document is not challenged.” Day v. Taylor, 400 F.3d 1272, 1276
(11th Cir. 2005) (citing Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002)). Here,
Weissenbach does not dispute the authenticity of the attached exhibits. As the exhibits
concern Weissenbach’s relationship with Petrey, which is central to her claims, the
Court will take the exhibits into consideration.
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inconsistent positions were “calculated to make a mockery of the judicial

system.” Burnes, 291 F.3d at 1285 (11th Cir. 2002). The Eleventh Circuit has

stated that judicial estoppel may only apply in situations involving intentional

contradictions, “not simple error or inadvertence.” Id. at 1286.

      Weissenbach does not argue that her contradictory positions were

made due to either inadvertence or error. Instead, Weissenbach states that

“[t]he parties here don’t know why Weissenbach agreed to sign such an

affidavit, but discovery may reveal that she may have been pressured or

coerced to do so by her parents, Petrey, Petrey’s lawyer, or someone in the

community at large.” (Doc. 34 at 10.) Weissenbach further asserts that

judicial estoppel is inapplicable to her claims because “[s]he had nothing to

gain by submitting the affidavit.” (See id.)

      The Court disagrees with Weissenbach’s assessment and finds that

the application of the doctrine of judicial estoppel is entirely appropriate at

this motion to dismiss stage. Weissenbach signed the affidavit in Petrey’s

criminal case on January 30, 2016. She filed the original complaint in this

case on September 23, 2017, less than two years later. Although

Weissenbach seemingly acknowledges that the affidavit contradicts the

position she has taken in this case, she fails to make any argument that she

has recanted her prior position or to explain these discrepancies. Because

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the two positions taken by Weissenbach are directly contradictory, it is clear

that she either intended to mislead the state court or is now misleading this

Court.

      Moreover, Weissenbach’s argument that judicial estoppel should not

apply because she had nothing to gain by submitting the affidavit is

unavailing. A party asserting inconsistent positions in two proceedings does

not need to have gained an unfair advantage in the prior proceeding for

judicial estoppel to apply. See Slater, 871 F.3d at 1181–82. Further, the

Court is unconvinced that Weissenbach did not gain something by submitting

the affidavit. In her affidavit, Weissenbach indicated that she would not help

with the State’s criminal case against Petrey. Her apparent goal was to cause

the State to drop its criminal charges. This goal was accomplished when the

criminal charges against Petrey were dropped due to Weissenbach’s failure

to cooperate. (See Doc. 30-2.) Thus, Weissenbach’s affidavit seemingly

achieved its purpose.

      Further, due to her inconsistent statements, it would be inequitable to

allow Weissenbach to proceed with this lawsuit. By filing this suit against

Tuscaloosa County, Weissenbach is asking taxpayers to foot the bill for

Petrey’s alleged inappropriate conduct, which she claims Tuscaloosa County

and its employees are at least partly responsible for because much of this

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activity occurred at school. However, in state court, Weissenbach stated that

“[a]t no time did Brad Petrey ever use his position as teacher to manipulate,

influence, pressure, or encourage me to enter a sexual relationship.” (See

Doc. 30-1.) If the Court allowed this case to proceed, Weissenbach could

recover monetary damages from the school system while simultaneously

protecting Petrey from facing criminal charges. This would make a mockery

of the judicial system because it would allow Weissenbach to assume

different positions based on “the exigencies of the moment.” Slater, 871 F.3d

at 1176. This is exactly the type of situation that the doctrine of judicial

estoppel is meant to prevent. As such, Weissenbach’s remaining Title IX

claim against Tuscaloosa County is due to be dismissed.

      Moreover, even if the Court had not already concluded that

Weissenbach’s other claims against Tuscaloosa County, the Board

Members, Burroughs, and Fitzpatrick were each due to be dismissed, it

would do so under the doctrine of judicial estoppel. Further, although

Defendants McBride and Swinford have not filed motions to dismiss,

Weissenbach’s claims against them are also due to be dismissed. For

judicial estoppel to effectively safeguard against abuse of the judicial system

its reach must extend to Weissenbach’s claims against Tuscaloosa County

and its employees. Otherwise, Weissenbach would be allowed to bring a civil

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case against those who were only peripherally involved in her relationship

with Petrey while making statements in state court that helped absolve

Petrey of criminal liability. Because this result would make a mockery of the

judicial system, Weissenbach’s claims against these defendants are due to

be dismissed.

      Finally, the doctrine of judicial estoppel also supports dismissal of

Weissenbach’s claims against Petrey. Although it at first appears inequitable

to allow Petrey to be both the beneficiary of Weissenbach’s affidavit and the

doctrine of judicial estoppel, the doctrine is meant to protect the integrity of

the courts rather than benefit any particular party. See New Hampshire, 532

U.S. at 749. Indeed, the rule was created “to prevent ‘improper use of judicial

machinery.’” See id. (quoting Konstantinidis v. Chen, 626 F.2d 933, 938

(D.C. Cir. 1980)). It would undermine the integrity of the judicial system to

allow Weissenbach to bring claims against Petrey where many of the factual

allegations that support those claims, such as her claims that they were

having sex during the summer of 2014, are directly contradicted by the state

court affidavit. The Court should not have to expend taxpayer resources

considering such claims. Therefore, Weissenbach’s claims against Petrey

are also due to be dismissed under the doctrine of judicial estoppel.




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   IV. CONCLUSION

      For the reasons stated above, Defendants Tuscaloosa County, Moore,

Barnett, Mims, Presley, Orr, Smalley, and Copeland’s motion to dismiss

(doc. 29) and Defendants Burroughs and Fitzpatrick’s motion to dismiss

(doc. 30) are due to be granted, and this case is due to be dismissed. A

separate order consistent with this opinion will be entered.

      DONE and ORDERED on November 8, 2018.



                                          _____________________________
                                                  L. Scott Coogler
                                             United States District Judge
                                                                            194800




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